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              IN THE UNITED STATES DISTRICT COURT OF MARYLAND
                               BALTIMORE DIVISION


 THE ESTATE OF HENRIETTA LACKS
 1304 Kitmore Road
 Baltimore, Maryland 21239

       PLAINTIFF
                                                          Civil Case No.: __________________
 VS-

 THERMO FISHER SCIENTIFIC INC.
 Serve: Capitol Corporate Services, Inc.
 Resident Agent
 3206 Tower Oaks Blvd.
 4th Floor
 Rockville, Maryland 20852


         DEFENDANT


                 CIVIL COMPLAINT AND REQUEST FOR JURY TRIAL

       Plaintiff The Estate of Henrietta Lacks (“Plaintiff” or “Ms. Lacks”), by and through their

undersigned counsel, brings this Complaint against Defendant Thermo Fisher Scientific, Inc.

(“Thermo Fisher Scientific” or the “Company”), and states as follows:

                                        INTRODUCTION

       1.       This case is about a multibillion-dollar biotechnology corporation, Thermo Fisher

Scientific, making a conscious choice to sell and mass produce the living tissue of Henrietta Lacks,

a Black woman, grandmother, and community leader, despite the corporation’s knowledge that

Ms. Lacks’ tissue was taken from her without her consent by doctors at Johns Hopkins Hospital

and a racially unjust medical system.

       2.       Medical research has a long, troubled racial history. The exploitation of Henrietta

Lacks represents the unfortunately common struggle experienced by Black people throughout US


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history. Indeed, Black suffering has fueled innumerable medical progress and profit, without just

compensation or recognition. Various studies, both documented and undocumented, have thrived

off the dehumanization of Black people.

       3.       In the 1950s, a group of white doctors at Johns Hopkins preyed on Black women

with cervical cancer. While treating Black women in racially segregated wards, the white doctors

would cut away tissue samples from their patients’ cervixes without their patients’ knowledge or

consent. A leading figure in this conspiracy—Dr. George Gey, then head of tissue culture research

at Hopkins—once proclaimed himself “the world’s most famous vulture, feeding on human

specimens almost constantly.”

       4.       To be clear, these tissue samples were not taken for purposes of medical treatment

or with the informed consent of those operated upon.

       5.       Henrietta Lacks was one of the victims of this conspiracy. Ms. Lacks was admitted

to the racially segregated ward at Johns Hopkins Hospital—one of the only hospitals that would

treat Black patients—for a malignant tumor on her cervix. On February 5, 1951, during a surgical

procedure and with her under anesthesia, a white doctor at Johns Hopkins used a sharp knife to cut

two parts of Ms. Lacks’ cervix away under the guise of treating her cervical cancer with radium.

This surgical procedure to harvest Ms. Lacks’ tissue was not medically necessary and was not an

operation to which Ms. Lacks consented. Nor was she warned about the risks of the aggressive

course of treatment she was subjected to, which left her infertile. Months later, when Ms. Lacks

was told that the course of treatment for her cancer had left her infertile, she stated clearly that she

would never have agreed to be treated had she been informed of the risk of infertility. The

treatment was also completely ineffective. Henrietta Lacks ultimately died of cervical cancer on

October 4, 1951.




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        6.       The cells taken from Henrietta Lacks have unique properties. While most cell

samples die shortly after they are removed from the body, Ms. Lacks’ cells survived and

reproduced in the laboratory. This exceptional quality meant that it was possible to cultivate Ms.

Lacks’ cells into a cell line that could reproduce indefinitely in laboratory conditions—an immortal

cell line. Indeed, Ms. Lacks’ cells were the first known immortalized human cell line. Medical

researchers refer to Henrietta Lacks’ cultivated cell line as the HeLa cell line, using the first letters

of Ms. Lacks’ first and last names.

        7.       The origins of this cell line were not known to medical researchers outside Johns

Hopkins for decades after Ms. Lacks’ death. Before the revelation that HeLa cells were obtained

without Ms. Lacks’ consent, medical researchers used HeLa cells to develop a huge number of

scientific and medical innovations, including the polio vaccine, gene mapping, in vitro fertilization

and many more. The HeLa cell line is one of the most important and widely used cell lines in

human history. But Henrietta Lacks was never told why her tissue was taken and never gave

permission for her cells to be used as they have been.

        8.       Today, however, the origins of the HeLa cell line have been widely publicized—

including by a bestselling book, a film starring Oprah Winfrey, and thousands of media reports.

The publicity surrounding Ms. Lacks’ cells is such that no reasonable person who works with

HeLa cells could be unaware of the fact the cell line was wrongfully taken from Henrietta Lacks’

body without her consent or knowledge. There is a widespread consensus today that the theft of

Ms. Lacks’ cells was profoundly unethical and wrong.

        9.       Despite this, one of the largest biotechnology companies in the world—Thermo

Fisher Scientific—has continued to mass-produce and sell Ms. Lacks’ bodily tissue for its own




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profit without permission of Ms. Lacks’ Estate. To this day, Thermo Fisher Scientific cultivates

and sells HeLa cells in multiple product lines to buyers across the globe.

       10.     In other words, Thermo Fisher Scientific literally sells Ms. Lacks’ cellular material,

develops and manufactures cellular products incorporating HeLa cells, and seeks intellectual

property rights on these products, staking a claim to the genetic material of Ms. Lacks. Thermo

Fisher Scientific has appropriated Ms. Lacks’ genetic material for its own pecuniary gain, all

without payment, permission, or approval from the Lacks Estate or family.

       11.     In the last several years, Thermo Fisher Scientific has made staggering profits by

using the HeLa cell line—all while Ms. Lacks’ Estate and family haven’t seen a dime. In 2020,

Thermo Fisher Scientific recorded $32.22 billion in revenue. These commercialization efforts

occurred after the widespread publicity around the origins of the HeLa cell line. Thermo Fisher

Scientific has known that HeLa cells were stolen from Ms. Lacks and chose to use her body for

profit anyway. A human being—Henrietta Lacks—is behind every cell, every sample sold by

Thermo Fisher Scientific.

       12.     Because of Thermo Fisher Scientific’s actions, Henrietta Lacks’ children and

grandchildren have been forced to live with the reality that living tissue of their mother or

grandmother is being sold by a large corporation against her and her family’s will. This robs the

family of one of the most basic comforts any grieving person can ask for—the knowledge that a

loved one’s body has been treated with respect.

       13.     Beyond this harm, the widespread dissemination of Henrietta Lacks’ tissue means

Ms. Lacks’ genetic information is now commonly available—and, as a consequence, some of the

most private information about Ms. Lacks and her family has been exposed to the general public.




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       14.     Thermo Fisher Scientific’s choice to continue selling HeLa cells in spite of the cell

lines’ origin and the concrete harms it inflicts on the Lacks family can only be understood as a

choice to embrace a legacy of racial injustice embedded in the US research and medical systems.

Black people have the right to control their bodies. And yet Thermo Fisher Scientific treats

Henrietta Lacks’ living cells as chattel to be bought and sold.

       15.     The Estate of Henrietta Lacks brings a single cause of action—unjust enrichment—

against Thermo Fisher Scientific for its choice to profit from the unlawful conduct of Johns

Hopkins’ doctors. Under settled law, as articulated in the Third Restatement of Restitution “a

defendant who is enriched by misconduct and who acts [] with knowledge of the underlying wrong

to the claimant” is a conscious wrongdoer liable for its profits. Restatement (Third) of Restitution

and Unjust Enrichment § 51(3) (2011). Put simply, because it made the conscious choice to profit

from the assault of Henrietta Lacks, Thermo Fisher Scientific’s ill-gotten gains rightfully belong

to Ms. Lacks’ Estate.

                                             PARTIES

       16.     Plaintiff Henrietta Lacks was a natural person, resident of Baltimore County,

Maryland, and citizen of the state of Maryland. The executor of Ms. Lacks’ estate is Ron L. Lacks,

Ms. Lacks’ grandson.

       17.     Thermo Fisher Scientific Inc. is a Delaware corporation headquartered in Waltham,

Massachusetts. As used in this complaint, “Thermo Fisher Scientific” refers both to Thermo Fisher

Scientific Inc. and to its subsidiaries, affiliates, agents, and other entities within its control that

have owned, manufactured, distributed, monitored, or sold HeLa cells or related products.

       18.     Thermo Fisher Scientific is one of the largest biotechnology companies in the

world. Its stock trades on the New York Stock Exchange and as a component of both the S&P 100




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and S&P 500. It has a market capitalization of more than $200 billion and revenues of more than

$30 billion. In 2019, its CEO, Marc Casper, received approximately $20 million in compensation.

                                 JURISDICTION AND VENUE

       19.     This Court has jurisdiction over the subject matter of this action based upon

diversity of citizenship pursuant to 28 U.S.C. § 1332 in that Plaintiff is not from the same state as

Defendants, and the amount in controversy exceeds $75,000.

       20.     Venue is proper under 28 U.S.C. § 1391 because a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred in this district.

       21.     Thermo Fisher Scientific has purposefully availed itself of this forum. Thermo

Fisher Scientific maintains major laboratories and cell storage sites in Fredrick, Maryland and

Rockville, Maryland. These facilities are used for cell therapy clinical trial support services. On

information and belief, these facilities are one of the major hubs of Thermo Fisher Scientific’s

commercialization of HeLa cells.

       22.     Thermo Fisher Scientific has further purposefully availed itself of this forum by

commercializing HeLa cells despite its knowledge that the cells were obtained in Baltimore

County, Maryland, through the unlawful conduct described elsewhere in the complaint.

                                               FACTS

       23.     In 1951, the chair of gynecology at Johns Hopkins—Dr. Richard Wesley

TeLinde—faced widespread criticism for his practice of frequently removing the cervix, uterus,

and substantial portions of the vagina of patients with carcinoma in situ, a condition not believed

to be deadly at the time.

       24.     TeLinde believed that by showing that carcinoma in situ behaved similarly to other

forms of cervical cancer that were known to be deadly in the laboratory, he would be able to prove




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his aggressive surgical techniques were justified, and repair his tarnished reputation. TeLinde thus

proposed to Dr. George Gey, then head of tissue research at Johns Hopkins, that TeLinde would

provide samples of cervical cancer, taken from his patients without their knowledge or consent to

Gey, if Gey would use those sample in his research and attempt to cultivate those cells in a form

that could survive in a laboratory.

       25.     TeLinde’s offer meshed well with Gey’s research interests. Virtually all human

cell samples at the time died quickly in laboratory conditions. Gey wanted to attempt to cultivate

a cell line that would be able to survive indefinitely in a lab—an immortal cell line. Gey had little

understanding of why human cells died in laboratory conditions. And thus, Gey tried repeating

the process of creating human cell samples that could survive in laboratory conditions over and

over again—a process that required more and more samples. TeLinde’s proposal of an endless

supply of samples thus suited Gey perfectly, and he agreed to the deal.

       26.     To get Gey samples, TeLinde directed the doctors under his supervision to take

tissue samples from Black patients in Johns Hopkins’ segregated wards with cervical cancer.

While treating Black women in racially segregated wards, the white doctors under TeLinde’s

supervision would cut away tissue samples from their patients’ cervixes without their patients’

knowledge or consent. As one doctor acting under TeLinde’s supervision callously summarized,

“Hopkins, with its large indigent [B]lack population, had no dearth of clinical material.”

       27.     This horrifying dehumanization of Black patients and abuse of trust sadly had all

too much precedent in then-recent medical history. At the same time as TeLinde and Gey

concocted their scheme, the U.S. Public Health Service, working with the Tuskegee Institute in

Macon, Alabama, denied hundreds of Black men widely available treatment for syphilis to enable

them to study how the disease progressed when untreated. By the time this abusive study was




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disclosed to the public in July 1972, 28 participants had died from syphilis, 100 more had passed

away from related complications, at least 40 spouses had been diagnosed with it, and the disease

had been passed to 19 children at birth.

       28.      The list of abuses is long. Another example is the medical practice known as the

“Mississippi Appendectomy” beginning in the 1920s. The Mississippi Appendectomy was the

systematic forced sterilization of poor Black women without the women’s knowledge or consent.

Doctors performed the hysterectomies under the pretense of appendectomies in order to prevent

poor Black women from reproducing and to give young, inexperienced doctors the opportunity to

practice the hysterectomy procedure. These sterilizations reflected a blatant disregard for basic

human rights.

       29.      Similarly, in the Second World War, the United States tested mustard gas and other

chemical agents on Black men, and then threatened the soldiers who complained with prison time

to keep them quiet. Too often, the history of medical experimentation in the United States has

been the history of medical racism.

       30.      In January 1951, Henrietta Lacks was diagnosed with cervical cancer at Johns

Hopkins.

       31.      Henrietta Lacks’ treating doctor—acting under TeLinde’s supervision—

recommended an aggressive course of treatment: inserting rods of radium, a radioactive substance,

into her body. This treatment approach required that Lacks be placed under anesthesia—providing

an opportunity for a surgeon working for TeLinde to collect the tissue samples from Ms. Lacks.

This procedure was also certain to render Ms. Lacks infertile.

       32.      Henrietta Lacks was not informed that Johns Hopkins planned to take samples of

her cervix. She did not consent to this surgical procedure or any such sampling. Taking a tissue




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sample is not medically necessary to conduct radium treatment, nor was it common practice in

radium treatment at the time. Ms. Lacks was also not told that the radium treatment she would be

subjected to would render her infertile.

        33.    On February 5, 1951, while Henrietta Lacks was unconscious, a surgeon working

under TeLinde’s supervision cut two circular samples of tissue, each about three quarters of an

inch across, from her cervix. These samples were then given to Gey for experimentation.

        34.    Gey then attempted, once again, to create a cell line that could survive in laboratory

conditions. Gey’s efforts in cultivating the HeLa cell line were not meaningfully different than his

prior, failed efforts. However, unknown to Gey—and for reasons that the scientific community

would not come to understand until decades later—Ms. Lacks’ cells had unique properties that

meant they were able to survive in laboratory conditions. Gey was finally able to create the

immortal cell line he craved.

        35.    As Gey worked to cultivate the stolen cells, Henrietta Lacks died of cervical cancer

on October 4, 1951. She was buried in an unmarked grave.

        36.    Indeed, around the same time Henrietta Lacks passed away, Gey appeared on

television, holding a vial of Ms. Lacks’ cells, to present his purported contribution to the fight

against cancer. Gey introduced to the world the first successfully grown “immortal” human cell

line.

        37.    Scientists all over the world were given HeLa cells for free to conduct their own

studies. Because HeLa cells were the first human cells that could survive indefinitely in laboratory

conditions, scientists were able to use them for medical research that might well not have been

possible without them. In the decades that followed, the HeLa cell line became an essential

resource for medical research in labs worldwide. HeLa was used to test the first polio vaccine, to




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understand the effects of radiation on human cells, to develop treatment for sickle cell anemia, and

in countless scientific papers.

       38.     However, Ms. Lacks’ estate and family never received any part of the billions of

dollars that HeLa cells brought (and continue to bring) to many companies. In fact, despite the

widespread use of HeLa cells, for decades, the facts surrounding the origin of the HeLa cell line

were unknown. Gey and Johns Hopkins went to great lengths to keep the origins of the HeLa cell

line secret. As a result, for decades, the global scientific and medical communities were unaware

that the HeLa cell line was the product of the assault of Henrietta Lacks. Indeed, for many years,

even Henrietta Lacks’ real name was not known to the public—Gey claimed the cells came from

a person named Helen Lane to conceal the cells’ true origin.

       39.     In recent years, the origins of the HeLa cell line have become widely known.

Today, the fact that HeLa cells were taken from Henrietta Lacks without her knowledge or consent

has been extensively publicized. The extensive publicity of the taking of parts of Henrietta Lacks’

body without her consent includes:

               (a)     A nonfiction book which spent 75 weeks on the New York Times Best

                       Seller list, including a substantial period in the number one slot;

               (b)     Mentions in more than 2,700 academic articles discussing issues of patient

                       consent and medical ethics;

               (c)     A movie starring Oprah Winfrey that aired on HBO;

               (d)     Tens of thousands of media articles in the international, national, and local

                       press; and

               (e)     Official recognition of Henrietta Lacks’ contributions to medical science by

                       the United States House of Representatives.




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       40.     Any reasonable person working with HeLa cells—especially a person with the

resources of Thermo Fisher Scientific—would be aware of the origin of the HeLa cell line,

including that the cells were taken from Ms. Lacks without her consent.

       41.     Indeed, Thermo Fisher Scientific has publicly admitted that it is aware of the fact

HeLa cells were taken from Henrietta Lacks without her consent. The company hosts an article

on its corporate website that states HeLa cells were removed from Ms. Lacks and used for scientific

research despite the fact that “[Ms.] Lacks and her family were unaware that her tissue was used

in this way.” Similarly, in another article on its corporate website, Thermo Fisher Scientific

acknowledges “the widespread but unsanctioned use of HeLa cells from Henrietta Lacks.”

       42.     Despite their awareness of the origins of the HeLa cell line, Thermo Fisher

Scientific made the choice to use Henrietta Lacks’ body for their own profit. Thermo Fisher

Scientific began mass producing HeLa cells for commercial research use, reaping millions of

dollars in profits that would never have been possible without Henrietta Lacks’ cells. Thermo

Fisher Scientific never sought or received permission from the Estate of Henrietta Lacks to do so.

       43.     To this day, Thermo Fisher Scientific cultivates and sells HeLa cells, including the

following product lines—each of which is currently available for sale on the company’s website:

               (a)    Pierce HeLa Protein Digest Standard

               (b)    Pierce HeLa Digest/PRTC Standard

               (c)    T-REx HeLa Cell Line

               (d)    Cervical Adenocarcinoma (HeLa-S3) Total RNA

               (e)    Human Cervical Adenocarcinoma (HeLa-S3) Total RNA

               (f)    Cell Sensor ESRE-bla HeLa Cell Line

               (g)    Cell Sensor HSE-bla HeLa Cell Line




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               (h)     LanthaScreen c-Jun (1-79) HeLa Cell Line

               (i)     Cell Sensor T-REx NICD CSL-bla HeLa Cell Line

               (j)     Cell Sensor T-REx FOXO3 DBE-bla HeLa Cell Line

               (k)     1-Step Human Coupled IVT Kit – DNA

               (l)     1-Step Human High-Yield Maxi IVT Kit.

       44.     On information and belief, Thermo Fisher Scientific’s efforts to commercialize

HeLa cells are not limited to the HeLa cell lines available for sale to the public. The company also

offers contract development and manufacturing services to other biotechnology companies. Those

services involve using HeLa cells to support scientific research by other companies—in exchange

for substantial payments to Thermo Fisher Scientific. Additionally, HeLa cells are also a part of

other products the company manufactures, sells, or otherwise profits from.

       45.     In other words, Thermo Fisher Scientific’s business is to commercialize Henrietta

Lacks’ cells—her living bodily tissue—without the consent of or providing compensation to Ms.

Lacks’ Estate. All the while, Thermo Fisher Scientific understands—indeed, acknowledges on its

own website—that this genetic material was stolen from Ms. Lacks. Thermo Fisher Scientific’s

business is nothing more than a perpetuation of this theft.

       46.     Thermo Fisher Scientific has made and continues to make vast amounts of

money—in the millions of dollars—from its commercialization of HeLa cells.

                                            COUNT I

                                FOR UNJUST ENRICHMENT

       47.     Plaintiff incorporates ¶¶1-46 by reference.

       48.     Thermo Fisher Scientific was unjustly enriched because it received a benefit from

Henrietta Lacks, understood it received a benefit from Ms. Lacks, and did so in circumstances in

which acceptance or retention of the benefit was inequitable without payment or permission.


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         49.      Acceptance or retention of the HeLa cell line was inequitable without payment or

permission because the HeLa cell line was created through breach of a relation of trust and

confidence.

         50.      Acceptance or retention of the HeLa cell line was inequitable without payment or

permission because the HeLa cell line was created through the unlawful conduct described above.

         51.      Acceptance or retention of the HeLa cell line was inequitable without payment or

permission because of the totality of circumstances surrounding the creation and acquisition of the

HeLa cell line.

         52.      Thermo Fisher Scientific acted with knowledge of the underlying wrong to

Henrietta Lacks or despite a known risk that the conduct in question violated the rights of Ms.

Lacks.    Defendants are thus liable for their net profits incurred as a result of their unjust

enrichment.

                                      PRAYER FOR RELIEF

         WHEREFORE, plaintiff requests that the Court, after trial on the merits, grant the

following relief and judgment:

         A.       Order Thermo Fisher Scientific to disgorge the full amount of its net profits

obtained by commercializing the HeLa cell line to the Estate of Henrietta Lacks;

         B.       Enter an order permanently enjoining Thermo Fisher Scientific from using the

HeLa cell line without the permission of the Estate of Henrietta Lacks;

         C.       Impose a constructive trust in favor of the Estate on all HeLa cells possessed by

Thermo Fisher Scientific, all related intellectual property, and all proceeds related to use thereof;

         D.       Awarding plaintiff her reasonable costs and expenses incurred in this action,

including counsel fees and expert fees; and




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     E.     Awarding such other and further relief as the Court may deem just and proper.

                                     JURY DEMAND

     Plaintiff hereby demands a trial by jury.

DATED: October 4, 2021                       /s/ Kim Parker
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                                             ATTORNEYS FOR
                                             THE ESTATE OF HENRIETTA LACKS




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